           Case 1:21-cr-00112-CJN Document 9 Filed 02/11/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   MAGISTRATE NO. 21-MJ-64
                                                  :
              v.                                  :
                                                  :
 DAVID CHARLES MISH, JR.,                         :   VIOLATIONS:
                                                  :   18 U.S.C. § 1752(a)(1)
                       Defendant.                 :   (Entering and Remaining in a Restricted
                                                  :   Building)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Violent Entry and Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)

                                    INFO RM ATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, DAVID CHARLES MISH, JR.,

did knowingly enter and remain in the United States Capitol, a restricted building, without lawful

authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, DAVID CHARLES MISH, JR.,

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engaged in disorderly and disruptive conduct in and within such proximity to,

the United States Capitol, a restricted building, when and so that such conduct did in fact impede
          Case 1:21-cr-00112-CJN Document 9 Filed 02/11/21 Page 2 of 2




and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, DAVID CHARLES MISH, JR.,

willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, DAVID CHARLES MISH, JR.,

willfully and knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                            Respectfully submitted,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney
                                            N.Y. Bar No. 4444188


                                     By:
                                            CHRISTINE M. MACEY
                                            D.C. Bar No. 1010730
                                            Assistant United States Attorney
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
                                            Telephone No. (202) 252-7058
                                            Christine.Macey@usdoj.gov



                                               2
